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 2     1477 Drew Avenue, Suite 106
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 3     Telephone: 530.759.0700
       Facsimile: 530.759.0800
 4
     Attorney for Defendant
 5   ERIC PANG
 6

 7                                 IN THE UNITED STATES DISTRICT COURT
 8                              FOR THE EASTERN DISTRICT OF CALIFORNIA
 9                                             SACRAMENTO DIVISION
10

11   UNITED STATES OF AMERICA,                               ) Case No. CR S 08-0543 GEB
                                                             )
12                                    Plaintiff,             )
                                                             ) STIPULATION AND ORDER TO
13            vs.                                            ) CONTINUE SENTENCING
                                                             )
14   ERIC PANG,                                              )
                                      Defendant.             )
15                                                           )
16            It is hereby stipulated and agreed to between Plaintiff, UNITED STATES OF
17   AMERICA, through its counsel of record, Michael M. Beckwith, Assistant United States
18   Attorney, and Defendant, ERIC PANG, through his counsel of record, Joseph J. Wiseman, and
19   without objection from the United States Probation Officer assigned to this case, that the
20   sentencing of Defendant now scheduled for December 4, 2009 at 9:00 a.m., be rescheduled to
21   December 11, 2009 at 9:00 a.m.
22            The parties are requesting this continuance because Defendant’s counsel will be out of
23   town in Southern California for depositions in Harris v. Siena Care Inc., in Placer County
24   /////
25   /////
26   /////
27   /////
28
                                                             1
     Stipulation And Proposed Order To Continue Sentencing                        Case No. CR S 08-0543 GEB
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 1   Superior Court. The depositions are expected to last for two days.
 2

 3   Dated: November 19, 2009                                 Respectfully submitted,
 4                                                            JOSEPH J. WISEMAN, P.C.
 5                                                            By:    /s/ Joseph J. Wiseman
 6                                                                   JOSEPH J. WISEMAN
                                                                     Attorney for Defendant
 7
                                                                     ERIC PANG
 8

 9   Dated: November 19, 2009                                 LAWRENCE G. BROWN
                                                              United States Attorney
10

11                                                            By:    /s/ Michael M. Beckwith
12
                                                                     MICHAEL M. BECKWITH, AUSA
                                                                     Attorney for Plaintiff
13                                                                   UNITED STATES OF AMERICA
14

15

16
                                                             ORDER
17

18
              Sentencing of Defendant ERIC PANG in the above-captioned case is continued to

19
     December 11, 2009 at 9:00 a.m.

20   Dated: 11/25/09
21                                                           GARLAND E. BURRELL, JR.
                                                             United States District Judge
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                                                                 2
     Stipulation And Proposed Order To Continue Sentencing                                    Case No. CR S 08-0543 GEB
